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                         UNITED STATES DISTRICT COURT
                          MIDDLE DISTRICT OF FLORIDA
                            JACKSONVILLE DIVISION


SANDY KMETZ,                                  CASE NO.: 3:21-CV-00952

            Plaintiff,
vs.

WALMART, INC., A FOREIGN
FOR PROFIT CORPORATION,
AND JANET BALDWIN,

         Defendants.
_____________________________/

 DEFENDANTS’ NOTICE OF REMOVAL OF ACTION UNDER 28 U.S.C.
               SECTION 1441(b) (DIVERSITY)

      Defendants, WALMART, INC. (Walmart), and JANET BALDWIN, under 28

U.S.C. §§1332, 1441 and 1446, give notice with full reservation of all defenses and

without waiving any right to arbitrate, that this cause, the civil action bearing case

number 2021-CA-000378, is hereby removed from the Seventh Judicial Circuit

Court in and for Flagler County, Florida, to the United States District Court for the

Middle District of Florida – Jacksonville Division. Pursuant to 28 U.S.C. §1446(a),

a short and plain statement of the grounds for removal follows:

                         I.   PROCEDURAL BACKGROUND

      1. Plaintiff, Sandy Kmetz, a resident of the State of New Jersey, filed her

         Complaint and Demand for Jury trial in a civil action for money damages
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   with the Circuit Court in and for Flagler County, Florida, Case Number

   2021-CA-000378, on or about July 28, 2021, 2020 (“the State action”),

   against the Defendants, Walmart, Inc. and Store Manager, Janet Baldwin

   (Exhibit A).

2. Defendant, Walmart, Inc. was served on August 5, 2021, and Defendant,

   Janet Baldwin was served on August 12, 2021.

3. Plaintiff alleges she tripped on a cracked sidewalk while walking in the

   parking lot of Defendant, Walmart’s store. (See Exhibit A at ¶7).

4. Section 1441 of Title 28 grants a Defendant the right to timely remove its

   pending State court action to Federal District Court, if that Court would have

   original jurisdiction. Original jurisdiction can be based on diversity of

   citizenship, 28 U.S.C. § 1441(a), amongst other grounds. As set forth more

   fully below, this case is properly removed pursuant to 28 U.S.C. §1441

   because the Court has subject matter jurisdiction over it and Defendants

   have satisfied the procedural requirements for removal.

                                II.     VENUE

5. Venue exists in the United States District Court for the Middle District of

   Florida, Jacksonville Division, because the Seventh Judicial District in and

   for Flagler County, where Plaintiff filed her Complaint against Walmart and




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   Janet Baldwin, is located within the United States District Court for the

   Middle District of Florida, Jacksonville Division.

                     III.   DIVERSITY OF CITIZENSHIP

6. This Court has jurisdiction over this civil action pursuant to 28 U.S.C.

   §1332. Specifically, Plaintiff and Defendants are of diverse citizenship.

7. Walmart, Inc., at the time of the alleged incident and all times material, was

   and is a Delaware Corporation with its principal place of business in the

   state of Arkansas. At no time has Walmart, Inc. been a citizen of Florida.

   (Exhibit B, Florida Department of State, Division of Corporations, Fictitious

   Name Detail.)

8. Plaintiff’s Complaint states that the Plaintiff is and was a resident of

   Somerset County, New Jersey at all times material. (See Exhibit A at ¶5).

   See McCormick v. Aderhold, 293 F.3d 1254, 1257-58 (11th Cir. 2002)

   (“Citizenship is equivalent to ‘domicile’ for purposes of diversity

   jurisdiction.”)

9. As such, there is complete diversity among the parties because Plaintiff is

   not a citizen of the State in which Defendant, Walmart, Inc. is a citizen.

                     IV.    AMOUNT IN CONTROVERSY

10.To determine the amount in controversy, a “defendant may rely on an

   estimate of the potential damages from the allegations in the Complaint.”


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   McPhail v. Deere & Co., 529 F. 3d 947, 955 (10th Cir. 2008). The

   jurisdictional minimum is satisfied where the defendant demonstrates to a

   legal certainty or within a reasonable probability that the amount in

   controversy exceeds the sum of seventy-five thousand dollars ($75,000),

   exclusive of interest and costs. See Phillips v. Whirlpool Corp., 351 F. Supp.

   2d 458, 461 (D.S.C. 2005). A combination of facts and theories of recovery

   in the Complaint that may support a claim exceeding $75,000 can be

   considered to satisfy the amount in controversy requirement for removal. Id.;

   see Keogh v. Clarke Envtl. Mosquito Mgmt., Inc., No. 8:12-cv-2874-T-

   30EAJ (M.D. Fla. Jan 17, 2013)(“A removing defendant is not required to

   prove the amount in controversy beyond all doubt or to banish all

   uncertainty about it”).

11.Although Plaintiff’s Complaint does not specify an amount in controversy

   other than the state court jurisdictional minimum amount of $30,000.00, it is

   clear from Plaintiff’s pre-suit communications to the Defendant that her

   claim for damages exceeds the jurisdictional minimum in this Court of

   $75,000.00.

12. “If the jurisdictional requirement is not facially apparent from the

   Complaint, the court should look to the Notice of Removal and may require

   evidence relevant to the amount in controversy at the time the case was


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removed. In considering the removal notice and evidence, the court is

permitted to make reasonable deductions and inferences.” Ruscin v. Wal-

Mart Stores, Inc., No. 8:13-CV-101-T-35TGW, 2013 WL 12157850, at *2

(M.D. Fla. July 16, 2013) (citing Pretka v. Kolter City Plaza II, Inc., 608

F.3d 744, 753 (11th Cir. 2010) (recognizing that a court will permit “the use

of deduction, inference, or other extrapolation of the amount in

controversy,” when the amount in controversy is not apparent from the face

of the complaint)) (denying Plaintiff’s motion for remand). “[U]nder 28

U.S.C. § 1446(b), removal may be premised on either the plaintiffs initial

pleading, such as a complaint, or a copy of an amended pleading, motion,

order or other paper. If, however, removal is based on a document other than

the plaintiff’s initial pleading, this document must have been supplied by the

plaintiff…. [I]n assessing the propriety of removal, the court considers the

document received by the defendant from the plaintiff—be it the initial

complaint or a later received paper— and determines whether that document

and the notice of removal the removing documents unambiguously establish

federal jurisdiction.” Sibilia v. Makita Corp., 674 F.Supp.2d 1290, 1292

(M.D. Fla. 2009), citing Cohen v. Office Depot, Inc., 204 F.3d 1069, 1072

(11th Cir., 2000) (internal quotation marks omitted).




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13.Further, Plaintiff’s Complaint alleges Plaintiff “suffered bodily injury and

   resulting pain, suffering, disability, physical impairment, disfigurement,

   mental anguish, emotional distress, inconvenience, loss of capacity for the

   enjoyment of life, incurred expenses of hospitalization, medical, and nursing

   care and treatment in the past and anticipated to be incurred in the future,

   loss of earning, loss of ability to earn money in the future, suffered an

   activation of a latent condition, and aggravation of a previously existing

   condition, disease, or physical defect.” (Ex. A, Complaint, ¶ 14).

14.In Stramiello v. Petsmart, Inc., 2010 WL 2136550, at *3 (M.D. Fla. 2010)

   the Court determined that defendant established its burden of proving the

   amount in controversy exceeded the jurisdictional amount of $75,000.00

   where plaintiff’s medical bills alone totaled over $108,000 and plaintiff

   alleged her injuries were permanent and ongoing, and that she would need

   future medical care. The court found the defendant established complete

   diversity and the amount in controversy exceeded the minimum

   jurisdictional requirement. Id. At *5.

15.Thus, given the alleged damages outlined in the Complaint, the amount in

   controversy is in excess of $75,000.00.




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16.Walmart, Inc. and Janet Baldwin deny they are liable to Plaintiff for any

   amount, but do not dispute that the amount in controversy exceeds

   $75,000.00 for jurisdictional purposes under §1441.

                     V.     Copies of Pleadings Attached

17.Pursuant to 28 U.S.C. § 1446(d), Defendants are simultaneously filing

   copies of all process, pleadings, and orders served upon Defendants in the

   State court action with its Notice of Removal, as attached as Composite

   Exhibit “C.”

                           VI.    Notice of Removal

18.Concurrent with the filing of this Notice of Removal, notice is being given

   to all parties, and a copy of this Notice of Removal is being filed with the

   Clerk of Court for the Seventh Judicial Circuit in and for Flagler County,

   Florida.

                             VII. Reservation

19.By filing a Notice of Removal in this matter, Defendants do not waive, and

   expressly reserve, their right to assert any and all defenses and/or objections

   in this case, including their right to contest personal jurisdiction, service of

   process and the sufficiency of the Complaint.




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                                     VIII. Conclusion

   20.Accordingly, because the parties are diverse, and it appears to a legal

       certainty that Plaintiff could recover at least $75,000, exclusive of interest

       and costs, and Defendants’ removal complied in all relevant respects with 28

       U.S.C. §1441, this action is properly removed on diversity grounds.

                                            Respectfully submitted,

   Dated: September 24, 2021

                                            /s/ Jenna T. Hackman
                                            JENNA T. HACKMAN, ESQ.
                                            Florida Bar No. 461466
                                            liabilitypleadings@RoigLawyers.com
                                            jhackman@roiglawyers.com
                                            ROIG LAWYERS
                                            50 N. Laura Street, Suite 2518
                                            Jacksonville, FL 32202
                                            904.301.9342 / 904.301.9341 Fax
                                            Attorneys for Defendants

                                            Service

       The undersigned hereby certifies that a true and correct copy of the foregoing has been

furnished electronically on this September 24, 2021, with the Clerk of the Court using CM/ECF.

I also certify that the foregoing document is being served this day on all counsel of record via

transmission of Notice of Electronic Filing generated by CM/ECF.

William T. Abel, Esq.
McLaughlin & Stern, LLP
525 Okeechobee Blvd., Suite 1530
West Palm Beach, FL 33401, at:
wabel@mclaughlinstern.com

                                                    /s/ Jenna T. Hackman
                                                    JENNA T. HACKMAN, ESQ.



                                           Page 8 of 8
                                                                           EXHIBIT
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A   lb.

;_:_t CT Corporation                                                                                       Service of Process
                                                                                                           Transmittal
                                                                                                           08/05/2021
                                                                                                           CT Log Number 540028779
          TO:         Kim Lundy- Email
                      Walmart Inc.
                      702 SW 8TH ST
                      BENTONVILLE, AR 72716-6209

          RE:         Process Served in Florida

          FOR: WALMART INC. (Domestic State: DE)




          ENCLOSED ARE COPIES OF LEGAL PROCESS RECEIVED BY THE STATUTORY AGENT OF THE ABOVE COMPANY AS FOLLOWS:

          TITLE OF ACTION:                                Kmetz Sandy, Pltf. vs. Walmart, Inc., etc. and Janet Baldwin, Dfts.
                                                          Name discrepancy noted.
          DOCUMENT(S) SERVED:                             Summons, Complaint, Notice, Interrogatories, First Request
          COURT/AGENCY:                                   Flagler County Circuit Court, FL
                                                          Case # 2021CA000378
          NATURE OF ACTION:                               Personal Injury - Failure to Maintain Premises in a Safe Condition - 06/26/2020, at
                                                          174 Cypress Point Parkway, Palm Coast, Flagler County, Florida
          ON WHOM PROCESS WAS SERVED:                     C T Corporation System, Plantation, FL
          DATE AND HOUR OF SERVICE:                       By Process Server on 08/05/2021 at 02:39
          JURISDICTION SERVED:                            Florida
          APPEARANCE OR ANSWER DUE:                       Within 20 days after service (Document(s) may contain additional answer dates)
          ATTORNEY(S) / SENDER(S):                        William T. Abel
                                                          McLaughlin Et Stern, PLLC
                                                          525 Okeechobee Blvd., Suite 1700
                                                          West Palm Beach, FL 33401
                                                          561-659-4020
          ACTION ITEMS:                                   CT has retained the current log, Retain Date: 08/05/2021, Expected Purge Date:
                                                          08/10/2021

                                                          Image SOP

          REGISTERED AGENT ADDRESS:                       C T Corporation System
                                                          1200 South Pine Island Road
                                                          Plantation, FL 33324
                                                          877-564-7529
                                                          MajorAccountTeam2@wolterskluwer.com
          The information contained in this Transmittal is provided by CT for quick reference only. It does not constitute a legal opinion, and should not otherwise be
          relied on, as to the nature of action, the amount of damages, the answer date, or any other information contained in the included documents. The recipient(s)
          of this form is responsible for reviewing and interpreting the included documents and taking appropriate action, including consulting with its legal and other
          advisors as necessary CT disclaims all liability for the information contained in this form, including for any omissions or inaccuracies that may be contained
          therein.




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                                                                    i •
                                                                             ®   Wolters Kluwer

                              PROCESS SERVER DELIVERY DETAILS




Date:                           Thu, Aug 5, 2021

Server Name:                    April Lewis




Entity Served                   WALMART INC.

Case Number                     2021 CA 000378

Jurisdiction                    FL




                                                              111
              Case 3:21-cv-00952
Filing # 131553143               Document
                   E-Filed 07/28/2021      1 Filed
                                      10:26:04 AM09/24/21 Page 11 of 31 PageID 11


        IN THE CIRCUIT COURT OF THE
        7TH JUDICIAL CIRCUIT IN AND FOR
        FLAGLER COUNTY, FLORIDA.

        CASE NO.: 2021 CA 000378

        SANDY KMETZ,

                      Plaintiff,

        VS.

        WALMART, INC., a Foreign Profit
        Corporation, and JANET BALDWIN,

                      Defendants.


                                                           SUMMONS

         THE STATE OF FLORIDA:
         To All and Singular the Sheriffs of said State:

                YOU A.RE HEREBY COMMANDED to serve this Summons and a copy of the Complaint, First
         Request to Produce and First interrogatories in this action on Defendant:

                                         WALMART, INC., a Foreign Profit Corporation
                                              By Serving its Registered Agent:
                                              C T CORPORATION SYSTEM
                                            1200 SOUTH PINE ISLAND ROAD
                                                 PLANTATION, FL 33324

                                                        IMPORTANT

                 A lawsuit has been filed against you. You have 20 calendar days after this Summons is served on
        you to file a written response to the attached Complaint in this Court. A phone call will not protect you; your
        written response, including the above case number and named parties, must be filed if you want the Court to
        hear your case. If you do not file your response on time, you may lose the case, and your wages, money, and
        property may thereafter be taken without further warning from the Court. There are other legal requirements.
        You may want to call an attorney right away. If you do not know an. attorney, you may call an attorney
        referral service or a legal aid office (listed in the telephone book).

                 If you choose to file a written response yourself, at the same time you file your written response to
        the Court you must also .mail or take a carbon copy or . photocopy of your written response to the
        "PlaintifftPlaintiff's Attorney" named below.

                                                     William T. Abel, Esq.
                                                     Attorney for Plaintiff
                                                  McLaughlin & Stern, PLLC
                                                525 Okeechobee Blvd., Ste. 1700

        {Summons to he Issued 1X. I ,}
           Case 3:21-cv-00952 Document 1 Filed 09/24/21 Page 12 of 31 PageID 12




                                          West Palm Beach, FL 33401
                                             TEL (561) 659-4020
                                             FAX (800) 206-0085


              WITNESS my hand and the seal of the Court on.            7(29/2021                 , 2021.

                                                                        TOM BEXLEY
                                                           Clerk. of Circuit and County Courts

(Court Seal)                                               By:

                                          "?
                                                         .:4.11
                                               ;:, • coof..
                                                           DEPUTY CLERK


                                                      IMPORTANT

If you are a person with a disability who needs an accommodation in order to access court facilities or
participate in a court proceeding, you are entitled, at no cost to you, to the provision of certain
assistance. Please contact Court Administration , 125 E. Orange Ave., Ste. 300, Daytona Beach, FL
32114; (386) 257-6096 at least 7 days before your scheduled court appearance, or immediately upon
receiving this notification if the time before the scheduled appearance is less than 7 days; if you arc
hearing impaired call 711

                                                    IMPORTANTE

        Usted ha sido demandado legalmente. Ticne vcinte (20) dias, contados a partir del. recibo de esta
notificacion, para contestar la demanda adjunta, por cscrito, y presentarla ante esta tribunal. Una llamada
telefonica no lo protegera. Si usted &sea que el tribunal considere su defensa, debe presentar su respuesta
par escrito, incluyendo el numcro del caso y los nombres dc las panes interesadas. Si •usted no contesta la
demanda a tiempo, pudiese perdcr el caso y podria ser despojado de sus ingrcsos y propiedades, o privado
de sus derechos, sin previo aviso del tribunal. Existen otros requisitos legales. Si lo desca, pucde usted
consultar a tin abogado immediatamente. Si no conocc a un abogado, puede ilamar a una de las oficinas de
asistencia legal que aparecen en la guia Telefonica, ADA Coordinator, 125 E. Orange Ave., Ste. 300,
Daytona Beach, FL 32114; (386) 257-6096

         Si desca responder a la demanda por su cuenta, al mismo tiempo en que prcsenta su respuesta ante
el tribunal, debera usted cnviar por con-co o entregar una copia de su respuesta a la persona denominada
abajo como "PlaintifVPlaintiffs Attorney". (Demandate o Abogado del Demanadante).

                                                      IMPORTANT

        Des poursuites judiciaries ont etc entreprises contre vous. Vous avez 20 jours consecutifs a partir
de la date de l'assignation de ceete citation pour deposer une reponse ecrite a la plainte ci-jointe aupres de
cc Tribunal. Un simple coup de telephone est insuffisant pour vous protegcr. 'Vous etcs oblige de deposer
vote .reponse ecrite, avec mention du numero de dossier ci-dcssus et du nom des parties nominees ici, Si

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vous souhaitez que le Tribunal entende votre cause. Si vous ne deposez pas votre reponse ecrite dans le
relai requis, vous risquez de .perdre la cause ainsi que votre salaire, votre argent, et vos biens peuvent etre
saisis par la suite, sans aucun preavis ulterieur du Tribunal. 11 y a d'autres obligations juridiques et vous
pouvez requerir les services immediats d'un avocat. Si vous ne connaissez pas d'avocat, vous pourriez
telephoner a tin service de reference d'avocats ou a tin bureau d'assistance juridique (figurant a l'annuaire de
telephones). ADA Coordinator, 125 E. Orange Ave., Ste. 300, Daytona Beach, FL
32114; (386) 257-6096.

        "De acuerdo con el Acto o' Decreto de los Americanos con Impedimentos Inhabilitados, personas
en necesidad del servicio especial para particpar en estee procedimiento deberan, dentro de un tiempo
razonable, antes de cualquier procedimiento, ponerse en contacto con la oficina Administrativa de la Corte,
125 E. Orange Ave., Ste. 300, Daytona Beach, FL
32114; (386) 257-6096




Summons to be Issued IK.0                             3
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        IN THE CIRCUIT COURT OF THE
        7TH JUDICIAL CIRCUIT IN AND FOR
        FLAGLER COUNTY, FLORIDA

        CASE NO.:

        SANDY KMETZ,

               Plaintiff,

        VS.

        WALMART, INC., a Foreign Profit
        Corporation, and JANET BALDWIN,

               Defendants.
                                                   /

                                                  COMPLAINT

               COMES NOW, Plaintiff, SANDY KMETZ, by and through his undersigned counsel, and

        sues the Defendants, WALMART, INC. (hereinafter referred to as "WALMART") and JANET

        BALDWIN and as grounds would state:

               1.      This is an action for damages, which exceed the sum of THIRTY THOUSAND

        ($30,000.00) DOLLARS.

               2.      At all times material hereto, the Defendant, WALMART, is a foreign corporation

        or other business entity duly authorized to do business in the State of Florida and was doing

        business in Palm Coast, Flagler County, Florida.

               3.      On or about June 26, 2020, Defendant, WALMART, owned, controlled and,

        possessed the premises and store located at 174 Cypress Point Parkway, Palm Coast, Flagler

        County, Florida.

               4.      At all times hereto, JANET BALDWIN, is the WALMART store manager and a

        resident of Flagler County, Florida, and otherwise sui juris.



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           5.     At all times material hereto, the Plaintiff, SANDY KMETZ, was lawfully on the

premises of the Defendant, WALMART to shop, and was a resident of Hillsborough Township,

Somerset County, New Jersey, and otherwise sui juris.

           6.     At all times material hereto, Defendant WALMART owed a duty of reasonable

care to maintain its premises in a reasonably safe condition for the use and enjoyment of invitees,

including Plaintiff.

           7.     WALMART negligently failed to maintain its premises in a reasonably safe

condition by allowing the sidewalk to become cracked, chipped and in disrepair, creating a

dangerous condition on the premises.

           8.     The dangerous conditions were created by and/or known to WALMART or had

existed for a sufficient length of time so that WALMART should have known of it.

           9.     Defendant, JANET BALDWIN failed to ensure that the premises was maintained

in a reasonably safe condition, failed to properly train and supervisor employees to identify and

repair dangerous conditions on the premises, and failed to implement policies and procedures to

ensure the premises was free of dangerous conditions.

           10.    As a direct and proximate cause of the dangerous condition, Plaintiff SANDY

KMETZ stepped onto the dangerous condition, lost her balance, and fell to the ground, injuring

herself.

                                            COUNT I
                                   NEGLIGENCE OF WALMART

           Plaintiff re-alleges paragraphs 1 - 10.

           11.    The said incident was caused by the aforementioned negligence of WALMART.

           12.    As a proximate result of WALMART's negligence, Plaintiff SANDY KMETZ

suffered bodily injury and resulting pain and suffering, disability, physical impairment,


                                                     2
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disfigurement, mental anguish, emotional distress, inconvenience, loss of capacity for the

enjoyment of life, incurred expenses of hospitalization, medical, and nursing care and treatment in

the past and anticipated to be incurred in the future, loss of earnings, loss of ability to earn money

in the future, suffered an activation of a latent condition and aggravation of a previously existing

condition, disease, or physical defect. Plaintiff, SANDY KMETZ's, losses are either permanent or

continuing and plaintiff will suffer the losses in the future.

        WHEREFORE, Plaintiff, SANDY KMETZ, sues the Defendant, WALMART for

compensatory and general damages, costs and interest and demands trial by jury of all issues so

triable as a matter of right.

                                         COUNT II
                                NEGLIGENCE OF JANET BALDWIN

        Plaintiff re-alleges paragraphs 1 - 10.

        13.     The said incident was caused by the negligence store manager JANET BALDWIN,

in failing to correct the dangerous conditions described herein.

        14.     As a proximate result of JANET BALDWIN'S negligence, Plaintiff SANDY

KMETZ suffered bodily injury and resulting pain and suffering, disability, physical impairment,

disfigurement, mental anguish, emotional distress, inconvenience, loss of capacity for the

enjoyment of life, incurred expenses of hospitalization, medical, and nursing care and treatment in

the past and anticipated to be incurred in the future, loss of earnings, loss of ability to earn money

in the future, suffered an activation of a latent condition and aggravation of a previously existing

condition, disease, or physical defect. Plaintiff, SANDY ICMETZ's

        WHEREFORE, Plaintiff, SANDY KMETZ, sues the Defendant, JANET BALDWIN for

compensatory and general damages, costs and interest and demands trial by jury of all issues so

triable as a matter of right.


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 Dated this 28th day of July 2021.


                                     McLAUGHLIN & STERN, PLLC
                                     CityPlace Office Tower
                                     525 Okeechobee Blvd., Suite 1700
                                     West Palm Beach, FL 33401
                                     Office: (561) 659-4020
                                     Fax: (800) 206-0085
                                     Email: wabel@mclaughlinstern.com;
                                     esantiago@mclaughlinstern.com

                                              /s William T Abel
                                     By
                                          William T. Abel, Esq.
                                          Florida Bar No.: 122841




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                                                                                 of State            "B"
                                                                                              PageID 21
  Florida Department of State                                                                D ivision   of   C orporations




       Previous on List          Next on List    Return to List                             Fictitious Name Search

       Filing History                                                                                 Submit



       Fictitious Name Detail
       Fictitious Name
       WAL-MART
      Filing Information
      Registration Number       G02049900030
      Status                    ACTIVE
      Filed Date                02/18/2002
      Expiration Date           12/31/2022
      Current Owners            1
      County                    MULTIPLE
      Total Pages               4
      Events Filed              3
      FEI/EIN Number            XX-XXXXXXX
       Mailing Address
       702 S.W. 8TH STREET
       BENTONVILLE, AR 727160555

       Owner Information
       WAL-MART STORES EAST, LP
       702 S.W. 8TH STREET
       BENTONVILLE, AR 727160555
       FEI/EIN Number: XX-XXXXXXX
       Document Number: B01000000392
      Document Images
                                                     View image in PDF format
      02/18/2002 -- REGISTRATION

                                                     View image in PDF format
      10/23/2017 -- Fictitious Name Renewal Filing

                                                     View image in PDF format
      11/05/2012 -- Fictitious Name Renewal Filing

                                                     View image in PDF format
      03/08/2007 -- RENEWAL


       Previous on List          Next on List    Return to List                             Fictitious Name Search

       Filing History                                                                                 Submit




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                                                   IN THE CIRCUIT COURT OF THE 7TH
                                                   JUDICIAL CIRCUIT IN AND FOR
                                                   FLAGLER COUNTY, FLORIDA


         SANDY KMETZ,                              Case No.: 2021-CA-000378

                        Plaintiff,
         vs.

         WALMART, INC., A FOREIGN PROFIT
         CORPORATION,      AND     JANET
         BALDWIN,

                       Defendant.
         _____________________________/

                              ANSWER AND AFFIRMATIVE DEFENSES

                The Defendant, WALMART, INC., serves this Answer to the Plaintiff’s

         Complaint for Personal Injuries and states as follows:

                1.    Defendant is without knowledge of paragraph 1 and therefore denies same

         and demands strict proof thereof.

                2.    Defendant admits paragraph 2.

                3.    Defendant admits paragraph 3.

                4.    Defendant denies paragraph 4 and demands strict proof thereof.

                5.    Defendant is without knowledge of paragraph 5 and therefore denies same

         and demands strict proof thereof.

                6.    Defendant denies paragraphs 6 through 10 and demands strict proof

         thereof.

                                     COUNT I NEGLIGENCE OF WALMART

                7.    Defendant denies paragraphs 11 and 12 and demands strict proof thereof.
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                        COUNT II NEGLIGENCE OF JANET BALDWIN

        7.      This Count is not directed to this Defendant however it would deny all

allegations and demand strict proof thereof of paragraphs 13 and 14.

                                       AFFIRMATIVE DEFENSES


                                      First Affirmative Defense

        The Complaint, and each and every cause of action alleged therein, fails to state facts

sufficient to constitute a cause of action for which relief may be granted.

                                    Second Affirmative Defense

        Any negligence that caused or contributed to the injuries of Plaintiff was solely the result

of negligence on the part of third parties and other individuals or entities who may be discovered

through the discovery process, and were not under the care, custody, control or supervision of

Defendant, and therefore, Plaintiff cannot recover against Defendant. Any damages awarded to

Plaintiff are subject to apportionment by the jury of the total fault of all participants in this action

pursuant the reasoning outlined by the court in Nash v. Wells Fargo Guard Services, Inc., 678

So. 2d 1262 (Fla. 1996) and Fabre v. Marin, 623 So. 2d 782 (Fla. 1993), and the provisions of

Florida’s Tort Reform Act, section 768.71, Florida Statutes, and Florida’s Uniform Contribution

Among Tortfeasors Act, section 768.31, Florida Statutes.

                                     Third Affirmative Defense

        Plaintiff knew, or reasonably should have known, of the potential hazards and dangers

alleged in the Complaint, and is barred from recovery against Defendant on the grounds of

assumption of risk.




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                                  Fourth Affirmative Defense

       Pursuant to section 768.76, Florida Statutes, or any other applicable provision, in the

event of any recovery by Plaintiff in this action, the amount awarded to Plaintiff in this action

must be reduced by any amounts paid to Plaintiff from any collateral source or benefits.

                                    Fifth Affirmative Defense

       Defendant is entitled to all setoffs and limitations of liability pursuant to the doctrine of

comparative fault, including but not limited to the provisions of section 768.81, Florida Statutes.

                                    Sixth Affirmative Defense

       Plaintiff was negligent, and otherwise at fault, with regard to the events alleged in the

Complaint, and such negligence and fault is the proximate cause of any liabilities or damages

Plaintiff may incur and therefore Plaintiff is barred from recovery. Or, in the alternative, any

award rendered to the Plaintiff would be reduced by the amount of her own negligence according

to the principles of comparative negligence. Further, to the extent Plaintiff was under the

influence of any alcoholic beverage or drug and was more than 50% at fault for her own harm,

Plaintiff’s claim would be barred by section 768.36, Florida Statutes.

                                  Seventh Affirmative Defense

       Plaintiff failed to take reasonable steps to reduce Plaintiff’s claims, damages, losses, if

any, and that said failure to mitigate Plaintiff’s damages bars or reduces any claims, losses, or

damages.

                                   Eighth Affirmative Defense

       Defendant had no constructive or actual knowledge of the alleged dangerous condition or

defect under section 768.0755, Florida Statutes.




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                                    Ninth Affirmative Defense

       Defendant asserts any possible danger or defect alleged in the Complaint was open and

obvious to anyone using reasonable care. Accordingly, Plaintiff cannot recover from this

Defendant.

                                    Tenth Affirmative Defense

       Plaintiff’s recovery for medical damages is limited to only those medical expenses for

which Plaintiff has become liable. Cooperative Leasing, Inc. v. Johnson, 872 So. 2d 956 (Fla. 2d

DCA 2004).

                                 Eleventh Affirmative Defense

       At the time of the incident alleged in the Complaint, Plaintiff was suffering from pre-

existing conditions, which caused or contributed to the damages Plaintiff is claiming.

                                  Twelfth Affirmative Defense

       Defendant is entitled to a set-off for any amount paid or to be paid to Plaintiff related to

any damages or injuries asserted in the Complaint pursuant to sections 769.50, 768.31 and/or

768.76, Florida Statutes, if Plaintiff received payments, medical payments from a collateral

source of from a potential tortfeasor.

                                     Thirteenth Affirmative Defense

       Defendant asserts the difference in height on the sidewalk where Plaintiff fell was within

the guidelines and parameters of the American with Disabilities Act which maintains a fall

hazard is a vertical difference of over 1/4 inch or more at any joint or crack. The subject

deviation is below that designated amount and Defendant denies it failed to maintain the

premises or otherwise act unreasonably with regard to maintenance of its premises.




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                              RESERVATION OF RIGHTS

       Defendant reserves the right to amend these affirmative defenses as discovery proceeds

and additional information becomes known.

                              DEMAND FOR JURY TRIAL

       Defendant, WALMART INC, demands a trial by jury on all issues so triable.

                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by
E-Mail this 13th day of August 2021 to the following:

William T. Abel, Esq.
McLaughlin & Stern, LLP
525 Okeechobee Blvd., Suite 1530
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Attorney for Plaintiff
                                             ROIG LAWYERS
                                             50 N. Laura Street, Suite 2518
                                             Jacksonville, FL 32202
                                             904.301.9342 / 904.301.9341 Fax
                                             Primary: liabilitypleadings@RoigLawyers.com
                                             Secondary: jhackman@roiglawyers.com


                                             BY: /s/ Jenna T. Hackman
                                             JENNA T. HACKMAN, ESQ.
                                             Florida Bar No. 461466
                                             Attorney For Walmart, Inc.




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                                                       IN THE CIRCUIT COURT OF THE 7TH
                                                       JUDICIAL CIRCUIT IN AND FOR
                                                       FLAGLER COUNTY, FLORIDA


         SANDY KMETZ,                                  Case No.: 2021-CA-000378

                          Plaintiff,
         vs.

         WALMART, INC., A FOREIGN PROFIT
         CORPORATION, AND JANET
         BALDWIN,

                       Defendant.
         _____________________________/


                                 ANSWER AND AFFIRMATIVE DEFENSES

               The Defendant, JANET BALDWIN, serves this Answer to the Plaintiff’s Complaint for

        Personal Injuries and states as follows:

               1.      Defendant is without knowledge of paragraph 1 and therefore denies same and

        demands strict proof thereof.

               2.      Defendant admits paragraph 2.

               3.      Defendant admits paragraph 3.

               4.      Defendant admits on the date in the Complaint she was the store manager.

               5.      Defendant is without knowledge of paragraph 5 and therefore denies same and

        demands strict proof thereof.

               6.      Defendant denies paragraphs 6 through 10 and demands strict proof thereof.

                                        COUNT I NEGLIGENCE OF WALMART

               7.      This Count is not directed to this Defendant however it would deny all allegations

        and demand strict proof thereof of paragraphs 11 and 12.
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                          COUNT II NEGLIGENCE OF JANET BALDWIN

        8.      This Defendant denies paragraphs 13 and 14 and demands strict proof thereof.

                                       AFFIRMATIVE DEFENSES


                                      First Affirmative Defense

        The Complaint, and each and every cause of action alleged therein, fails to state facts

sufficient to constitute a cause of action for which relief may be granted.

                                    Second Affirmative Defense

        Any negligence that caused or contributed to the injuries of Plaintiff was solely the result

of negligence on the part of third parties and other individuals or entities who may be discovered

through the discovery process, and were not under the care, custody, control or supervision of

Defendant, and therefore, Plaintiff cannot recover against Defendant. Any damages awarded to

Plaintiff are subject to apportionment by the jury of the total fault of all participants in this action

pursuant the reasoning outlined by the court in Nash v. Wells Fargo Guard Services, Inc., 678

So. 2d 1262 (Fla. 1996) and Fabre v. Marin, 623 So. 2d 782 (Fla. 1993), and the provisions of

Florida’s Tort Reform Act, section 768.71, Florida Statutes, and Florida’s Uniform Contribution

Among Tortfeasors Act, section 768.31, Florida Statutes.

                                     Third Affirmative Defense

        Plaintiff knew, or reasonably should have known, of the potential hazards and dangers

alleged in the Complaint, and is barred from recovery against Defendant on the grounds of

assumption of risk.




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                                  Fourth Affirmative Defense

       Pursuant to section 768.76, Florida Statutes, or any other applicable provision, in the

event of any recovery by Plaintiff in this action, the amount awarded to Plaintiff in this action

must be reduced by any amounts paid to Plaintiff from any collateral source or benefits.

                                    Fifth Affirmative Defense

       Defendant is entitled to all setoffs and limitations of liability pursuant to the doctrine of

comparative fault, including but not limited to the provisions of section 768.81, Florida Statutes.

                                    Sixth Affirmative Defense

       Plaintiff was negligent, and otherwise at fault, with regard to the events alleged in the

Complaint, and such negligence and fault is the proximate cause of any liabilities or damages

Plaintiff may incur and therefore Plaintiff is barred from recovery. Or, in the alternative, any

award rendered to the Plaintiff would be reduced by the amount of her own negligence according

to the principles of comparative negligence. Further, to the extent Plaintiff was under the

influence of any alcoholic beverage or drug and was more than 50% at fault for her own harm,

Plaintiff’s claim would be barred by section 768.36, Florida Statutes.

                                  Seventh Affirmative Defense

       Plaintiff failed to take reasonable steps to reduce Plaintiff’s claims, damages, losses, if

any, and that said failure to mitigate Plaintiff’s damages bars or reduces any claims, losses, or

damages.

                                   Eighth Affirmative Defense

       Defendant had no constructive or actual knowledge of the alleged dangerous condition or

defect under section 768.0755, Florida Statutes.




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                                    Ninth Affirmative Defense

       Defendant asserts any possible danger or defect alleged in the Complaint was open and

obvious to anyone using reasonable care. Accordingly, Plaintiff cannot recover from this

Defendant.

                                    Tenth Affirmative Defense

       Plaintiff’s recovery for medical damages is limited to only those medical expenses for

which Plaintiff has become liable. Cooperative Leasing, Inc. v. Johnson, 872 So. 2d 956 (Fla. 2d

DCA 2004).

                                 Eleventh Affirmative Defense

       At the time of the incident alleged in the Complaint, Plaintiff was suffering from pre-

existing conditions, which caused or contributed to the damages Plaintiff is claiming.

                                  Twelfth Affirmative Defense

       Defendant is entitled to a set-off for any amount paid or to be paid to Plaintiff related to

any damages or injuries asserted in the Complaint pursuant to sections 769.50, 768.31 and/or

768.76, Florida Statutes, if Plaintiff received payments, medical payments from a collateral

source of from a potential tortfeasor.

                                     Thirteenth Affirmative Defense

       Defendant asserts the difference in height on the sidewalk where Plaintiff fell was within

the guidelines and parameters of the American with Disabilities Act which maintains a fall

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deviation is below that designated amount and Defendant denies it failed to maintain the

premises or otherwise act unreasonably with regard to maintenance of its premises.




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                              RESERVATION OF RIGHTS

       Defendant reserves the right to amend these affirmative defenses as discovery proceeds

and additional information becomes known.

                              DEMAND FOR JURY TRIAL

       Defendant, WALMART, INC, demands a trial by jury on all issues so triable.



                              CERTIFICATE OF SERVICE

       I HEREBY CERTIFY that a true and correct copy of the foregoing has been furnished by
E-Mail this 19th day of August 2021 to the following:

William T. Abel, Esq.
McLaughlin & Stern, LLP
525 Okeechobee Blvd., Suite 1530
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                                             904.301.9342 / 904.301.9341
                                             Pleadings@RoigLawyers.com


                                             BY: /s/ Jenna T. Hackman
                                             JENNA T. HACKMAN, ESQ.
                                             Florida Bar No. 461466
                                             Attorney for Defendant Janet Baldwin




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